                                                                                                                                   MO-2 (3/07)
                                         UNITED STATES
                   Case 4:24-cr-00001-Y Document       DISTRICT
                                                  50 Filed      COURTPage 1 of 1 PageID 730
                                                           05/24/24
                                                       NORTHERN DISTRICT OF TEXAS
                                                            Fort Worth
                                                         _________________ DIVISION

                       Terry R. Means
HONORABLE___________________________________________,  Presiding
                       Michelle Moon
DEPUTY CLERK: ________________________________________                         Debbie Saenz
                                                         COURT REPORTER: ______________________________________
                       Adam Skrzecz
LAW CLERK ____________________________________________   USPO ___________________________________________________
INTERPRETER __________________________________________

UNITED STATES OF AMERICA                                                                           P. J. Meitl, Nancy Larson
                                                                4:24-CR-001-Y
                                                    CR. No. _________________________( 1 ) _________________________________       AUSA
v.                                                                                         _____________________________ Case Agent
                                                                       §
                                                                       §
                                                                       §
                                                                       §
JOHN ANTHONY CASTRO
________________________________                                       §                   Franklyn Mickelsen, (R), Jason B. Freeman (R)
                                                                                          _______________________________________
Defendant(s) Name and Number(s)                                                           Counsel for Deft(s) Appt-(A), Retd-(R), FPD-(F)

                                                     5th     DAY OF        JURY        BENCH TRIAL
               5-24-24
Date Held: ________________
Time in Court: 1____________
                    hr. 14 m.
Trial as to Counts: 1 through 33 of indictment

Trial Status:          Completed by Jury Verdict     Continued from Previous Month      Directed Verdict    Evidence Entered
                       Hung Jury   Jury Selection Only, continued    Jury Selection or Verdict Only (No Trial Before this Judge)
                       Mistrial  Settled/Guilty Plea

                5
Days in Trial: ____________
                                                                                                               ),/('
Hearing Concluded:  Yes    No
                                                                                                           May 24, 2024
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     Deft.__________________ failed to appear, bench warrant to issue.
     Pretrial Conference held prior to trial.
                                                                                                      &/(5.86',675,&7
     Voir dire begins.              Bench trial begins.           Waiver of Jury Trial.                     &2857
     Jury impaneled.      Jury selected        Jury sworn
     Jury trial held.                       . . . . . . Bench trial held.
     Govt       Deft evidence presented.
     Deft ___________________ motion for ______________________ granted                      denied    moot.
     Govt motion for ___________________________                   granted    denied.
     Deft ________________ motion ________________________ taken under advisement.
     Deft ________________ motion _______________________ granted                       denied.
     Evidence concluded.
     Final arguments.      . . . .Court deliberating.
     Court's charge to the jury.
     Jury deliberating.    . . . .Jury questions filed.
     Jury verdict Rendered (See Verdict Form).
     Court verdict Rendered (See Verdict Form).
     Jury trial ends.
     Order for PSI, Disclosure and Sentencing dates entered.
     Sentencing set for _______________ at ____________ .
     Bond     continued       revoked
     Deft bond set to $ ___________       Cash     Surety    10%           PR.
     Defendant Custody/Detention continued.
     Defendant REMANDED to custody.

     STATUS OF EXHIBITS: In possession of the CRD.
OTHER PROCEEDINGS: Defendant guilty on counts 1 through 33 of the indictment. Sentencing set for September 17, 2024, at 10:00 a.m.


Adjourned until.
